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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MICHIGAN




Jacqueline Taylor, et al.,

                                   Plaintiff(s),
v.                                                     Case No. 2:20−cv−11860−DPH−APP
                                                       Hon. Denise Page Hood
Detroit, City of, et al.,

                                   Defendant(s),



                                 NOTICE OF MOTION HEARING

   You are hereby notified to appear before District Judge Denise Page Hood at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Detroit,
Michigan. Please report to Room 218. The following motion(s) are scheduled for hearing:

                  Motion for Preliminary Injunction − #54
                  Motion to Expedite − #55

      • MOTION HEARING: January 23, 2023 at 11:00 AM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                               By: s/L. Saulsberry
                                                   Case Manager

Dated: December 21, 2022
